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Attorneys for Plaintiffs


                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF IDAHO

                                         )
      MARCELLA MILLER and SARAH          )             Case No. 1:20-cv-340
      MILLER,                            )
                                         )
                          Plaintiffs,    )             IN FORMA PAUPERIS
                                         )             APPLICATION FOR
      v.                                 )             PLAINTIFF MARCELLA
                                         )             MILLER
      KENSINGTON APARTMENTS, LLC )
      d.b.a KENSINGTON APARTMENTS )
      AT NORTH POINTE; HAWKINS           )
      COMPANIES, LLC; BACH HOMES, )
      LLC; and JOHN AND JANE DOES I- )
      XX, whose identities are unknown,  )
                                         )
                          Defendants.    )
      _____________________________________
                                         )



       I request that the Court allow me to proceed in forma pauperis in this action because I am

unable to pay the filing fee at the time of filing as a result of my poverty. I swear or affirm, under

penalty of perjury, that the following information is true and correct to the best of my knowledge.




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